                         Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18          Page
                                                                        Do Not Write in this Space 1 of 22                                                                                          PageID #: 40
                                                                      ,> rw                   •           JiL      **                                          OFFICIAL USEiONLY                  GKRiBrr    £
                                                                  STATE OF HAWAII- DEPARTMENT OF PUBLIC SAFETY                                                Date Received:
    397075                                                            li          ADMINISTRATIVE REMEDY FORM                                                  Date Logged: '^^•2.'^
                                                                                                                                        S^'3                  Date Retumedi^
    (This Control No. Must
     Accompany All Appeals)                                                                                                             \V^                   Response Qw:'' t
    NAME:                 -rC)                                                                                            SID:     Ao2(#54ti5
     HOUSING:                          --t|pF='                              ^H                                           CONTROL NO: Step!
                                        Facility             Module/Unit/Biock/Cell                                                   Step 2

     TO:(Step)-                 1.                    Section supervisor/Inmate Grievance Specialist
                                2.\                   Appeal Branch/Core Program Administrator/Inmate Grievance Specialist
                                3                     Appeal Institutions/Core Program Division Administrator/Inmate Grievance Specialist

     I attempted to soive^this problem through informal discussjpn with:
                                                            iissmnwith:
               t_ _4.r          • _i     A *1        i_           .                 A   i0^       " iL?               ^                                                -f-
     Resolution could not be obteined because:

     Subject cannot be resolved informally because:
     Attachments included:(Lower Step 1;Step 2; Miscondiicl & Hearing(DOC-8210A); Misconduct Report(DOC-8210).

     STATEMENT OF COMPLAINT/GRIEVANCE: Opor\ Cc^r^^l rcMi-e.*' <»-f Ahc.                                                                                              -(vr- -(kis vorila.-
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         RESOLUTION; (Do Not Write In This Space OFFICIAL USE ONLY) ,
                   The following is in response to your step III grievance appeal. In reviewing the facility's report and photos, the
                   evidence was indeed turned over to the DepartnientSB|!}arQptics Division for field testing and it tested positive
                   for THC (Marijuana). Formal rules of evidence shall not apply to misconduct hearings. The Adjustment
                   Hearings Officer may rely on any form of evidence, documents, or testimonies, which it believes is reliable.
           '       "You were also given the opportimity to respond to the evidence against you, explain your side of the story, and
                   offer additional information to support your case. Your allegations of being a "rat" and being "set-up"
                   repeatedly comes up at every facility you are housed at (CCA, HCF, WCF). There are many other inmates that


                   Yourmisconduct stands. Your grievance is denied

                   In accordance with P&P COR. 12.03.10.6, this decisionMs final and the ultimate recourse available within the
                   adtmni^ativ&^emedy process.

         SIGNATURE OF RESPONDENT^ffjltl KiiYUrfj)                                                                          TITLE
         Appeals must be filed within five (5) calendar days upon receipt Signed & dated ROAs mu^t pe r^tu?pe Step^ responses are final.

         INMATE ACKNOWLEDGED RESPONSE                                                                             DATE

         WHITE/File                  CANARY/Inmate Answer                         PINK/Respondent                  GOLD/lnmate Receipt                   PSD 8215 (rcv. 10/2015)
         Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 2 of 22                                   PageID #: 41
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Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 3 of 22                                     PageID #: 42
                                                    GXrtif>tr E-2-
                                                                        INMATE'S NAME:


                                                                        Quintin Gehn Dagirbaud
                                                                        INMATE'S SID:


                                                                        A0265488
    DEPARTMENT OF PUBLIC SAFETY
                                                                        HOUSING MOVEMENT FROM/TO:
  ADMINISTRATIVE SEGREGATION FORM
               PART A                                                   Building 98 to Cell#2
               REASON(S)FOR PLACEMENT IN ADMINISTRATIVE SEGREGATION(PART A)
                               TO BE COMPLETED BY WATCH COMMANDER OR HIGHER AUTHORITY


 CHECK ALL THAT APPLY:

 □ INMATE PRESENTS AN IMMEDIATE THREAT TO SAFETY OF SELF OR OTHERS
 □ INMATE JEOPARDIZES INTEGRITY OF INVESTIGATION OF ALLEGED SERIOUS MISCONDUCT
    OR CRIMINAL ACTIVITY


 lEI INMATE ENDANGERS INSTITUTIONAL SECURITY
 □ OTHER
 DESCRIPTION OR CIRCUMSTANCES WHICH SUPPORT THE REASON(S) FOR PLACEMENT:

 13.03 4.0.3. 8.7(9) Possession, introduction, manufacturing or use of any narcotic
 paraphernalia, drugs, intoxicants, synthetic drug composition or alcoholic beverage not
 prescribed for the individual by medical staff, which includes any form of being intoxicated.

 13.03 4.0.3. a.7(15) Possession, introduction, or use of any tobacco/nicotine,
 tobacco/nicotine product, or tobacco/nicotine paraphernalia. Ths does not apply to inmates
 in a community based furlough program, unless the incident resulted in an arrest on a
 criminal offense/charge.

 Inmate Dagirbaud was allegedly in possession of contraband (a brown leafy substance). The
 item was found in his assigned footlocker

 This charge carries a maximum sentence 30 days



 n CONTINUED ON ATTACHED PAGE [~\ IF BASED ON CONFIDENTIAL INFORMATION. DATE INMATE NOTIFIED
 DATE OF PLACEMENT:             PRINT NAME AND TITLE OF AUTHORIZING          SIGNATURE OF AUTHORIZING PERSON:
                                PERSON:

 7-27-17                        Lieutenant A. Monteilh
                                                                                            V—0
 DATE AND TIME NOTICE SERVED    PRINT NAME AND TITLE OF STAFF SERVING        SIGNATURE OF STAFF SERVING PLACEMENT
 ON INMATE:                     PLACEMENT NOT[CE:                           JHOTIGE:       y        ^
 7-27-/7
                               JNMATESI6NATURE AND DATE:
                                                                             n INMATE REFUSED TO SIGN. THE STAFF
                                                                                MEMBER SERVING THE FORM WITNESSED
                                                                                THE REFUSAL AND PROVIDED THE INMATE
                                                                                A COPY THIS FORM.




 DISTRIBUTION: INMATE. INSTITUTIONAL FILE. SEG UNIT. FACIUTYHCU CLINICAL SECTION ADMINISTRATOR. COS. CS l/ll

 PSD 8226 (May 2014)
    Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 4 of 22                        PageID #: 43
Inter-Offlce                          DEPARTMENT OF PUBLIC SAFETY                           No.
MEMORANDUM                                                                            Suspense:



                                              July 27,2017

                                                                                              a-
         TO:            Lieutenant A. Monteilh                      ^ (IT
         FROM:          Sergeant D. Kuehu             ^'^7-/7
         SUBJECT:       Dagirbaud, Quintin A0265488


         On Thursday, July 27, 2017 at 0615 hours I, Sergeant Kuehu was notified by Intake Officer
         AGO C. Foumai that he received an Inmate Request Form (kite) stating that inmate "Quintin
         Dagirbaud is selling spice and pot. Check under tray in locker." Lieutenant A. Monteilh
         notified.


         At 0645 hours AGO Tuvale and I went to Building Nine while Building Nine was out to
         breakfast chow. Inmate Dagirbaud, Q. is assigned to Bunk 9A G2. AGO Tuvale and I checked
         inmate's.Dagirbaud, Q. assigned footlocker. Inmate's Dagirbaud, Q. footlocker was locked at
         the time, as I did have to open it with the footlocker master lock key. I, Sergeant Kuehu did
         locate a wrapped item taped undemeath sliding metal tray located in inmate's Dagirbaud, Q.
         assigned footlocker. Item was wrapped in a yellow tea bag paper and appeared to be ofa brown
         leafy substance which sort ofsmelled like marijuana. Lieutenant A. Monteilh notified

         At 0700 hours inmate Dagirbaud, Q called to Building Nine from the Farm work line. Inmate's
         Dagirbaud, Q. bagged his state and personal property to be place into lockdown.

         At 0715 hours inmate Dagirbaud, Q. taken to Medical to be seen by RN Northup.

         At 0720 hours inmate Dagirbaud, Q. taken to UA officer J. Com to collect a UA sample.

         At 0727 hours inmate Dagirbaud, Q taken to Central Control(C/C)to be inventoried by AGO
         Tuvale and placed into Cell Two.

         At 0812 hours I, Sergeant Kuehu was able to contact NED agent Mike Hartsock and notify him
         about what I had found. Inmate's name and ID# given.

         Inmate Dagirbaud, Quintin A0265488 is charged with the following:

         13.03 4.0.3 a 7(9) Possession or introduction, manufecturing or use ofany narcotic
         paraphernalia, drugs. Intoxicants, synthetic drug composition or alcoholic beverages not
         prescribed ofthe individual by the medical stafl^ which includes any for on being intoxicated.




PSD 1005(3/88)
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    Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 5 of 22                            PageID #: 44
Inter-Office                           DEPARTMENT OF PUBLIC SAFETY                           No.
MEMORANDUM                                                                             Suspense:



          13.03 4.0.3 a 7(15) Possession, introduction or use of any tobacco/nicotine, tobacco/nicotine
         product or tobacco/nicotine paraphernalia. This does not apply to inmates in a community
         based furlough program, unless the incident resulted in an arrest on a criminal charge.

         Reports and photos submitted for your review.




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PSD 1005 (3/88)
                                                                                                     VW«»A'CA»'V «
    Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 6 of 22                           PageID #: 45
Inter-Office                           DEPARTMENT OF PUBLIC SAFETY                          No.
MEMORANDUM                                                                            Suspense:


                                                July 27,2017



         TO: T.Evans,COS                         ^^
         FROM: A. Monteilh, LT

         SUBJECT: Building Nine inmate Quintin Gehn Dagirbaud A0265488 in possession ofcontraband(a
         brown leafy substance)found in his assigned footlocker.

         Today, Thursday July 27,2017 at about 0615 hours, Sergenat Kuehu showed me on an inmate request
         a kite that stated inmate Quintin Dagirbaud had spice in his footlocker.

         At 0645 hours. Sergeant Kuehu along with AGO Tuvale searched the inmate's footlocker and found
         what appeared to be a brown leafy substance wrapped in a tea wrapper.

         At 0700 hours,inmate Dagirbaud was escorted by Sergeant Kuehu and AGO Tuvale to be processed to
         lockdown.


         At 0715 hours, inmate Dagirbaud went to the Medical Unit to be assessed.

         At 0720 hours, inmate Dagirbaud provided a UA sample for UA officer AGO Com

         At 0727 hours, inmate Dagirbaud went back to Central to have his property inventoried by AGO
         Tuvale and then placed in Cell #2.

         At 0812 NED was notified of the contraband item and the item was bagged, tagged, and placed in the
         Lieutenant's safe.


        Inmate Dagirbaud is charged with the following:

        13.03 4.0.3. a.7(9) Possession, mtroduction, manufacturing or use of any narcotic paraphemalia, dmgs,
        intoxicants, synthetic drug composition or alcoholic beverage not prescribed for the individual by
        medical staff, which includes any form of being intoxicated.

        13.03 4.0.3. a.7(15) Possession, introduction, or use of any tobacco/nicotine, tobacco/nicotine product,
        or tobacco/nicotine paraphemalia. This does not apply to inmates in a community based furlough
        program, unless the incident resulted in an arrest on a criminal offense/charge.

        Sergeant Kuehu is assigned this investigations with a suspense date of July 30, 2017.


        Reports and photos submitted for your review.




PSD 1005(3/88)
          Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 7 of 22                                                                        PageID #: 46
                                                                         STATE OF HAWAII
                                                  department of public safety
                                                             INGiDENT REPORT                                                   Facility;              ^
                                                                                                                               Prepared on:



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        DATE                                                                               •NARRATIVE
                      TIME
                                                     (Specify inmate name & ID and locatlpn if related to misconduct)
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   OOC 92U iS/SEi      ORIG — FACILITY ADMINISTRATOR                    CANARY — CONTROL CENTER                     PINK-ATTACH TO MISCONDUCT REPORT
Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 8 of 22                                               PageID #: 47




                                          Inmate Dagirbaud, Quintin-07/27/17




                             tlnmate Dagirboud's assigned Area 9A setion G and foot locker




Inmates Dagirboud's assignedfoot locker




                                                                                                        ■. /'
                                                                                                  -   -.'i ■
                                                                            Item found under sliding metal tray
         Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 9 of 22
        tnter-Office
                                                                                                 PageID #: 48
     MEMORANDUM                            DEPARTMENT OF PUBLIC SAFETY                     No.

                                                                                     Suspense:

                                                      July 27,2017


                  TO:           Thomas, Evans, Chiefof Security

                  THROUGH: Lieutenant A. Monteilh Second Watch Commander

                  FROM:         James Com,UA Officer              t/z7//7

                  SUBJECT:      UA from Inmate Dagirbaud, Quintin (A0265488)



                   On Thursday, July 27,2017, at approximately 0730 hours. Security Sgt. Kuehu called
                  me from building nine to inform me that inmate Dagirbaud, Quintin(A0265488)needs to
                  be given a UA. He was bought to the lab and given a UA. The results ofthe UA were
                  negative.


                                                        ACO ni J. CORN / UA OFFICER




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PSD 1005 (3/88)
Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page^
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          Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 11 of 22                                 PageID #:
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                            Cocaine              2^—
                            Opiates       —
                            Alcohol              ^
                            Amphetamines _C-
                            Creatinine           ^
                            Other                 ^
                     Tfrtrtier Specify!

                     Test Approved by:- ^7^ ///trd^                                            Dab: .1111 .?,^ ?ni7

                  ^ Spedinen Container Sealed/Coded by:                                        Daf.        JUL 252017
                     Acknowledgementsq«mmen container s^ed and cbded in donor's presence:
                  -^Donofs Signature: .                                                Dati;               JUL 292017
                      TestPerformed by:
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                  ^ Has donor taken medication? No
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                      Manufacture's guiddines ofimpacf?.
                      Specimen obtained by: A(L0         ■37T-^



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PSD 1005 (3/88)
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    Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 12 of 22                                                                                     PageID #:
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  TO;                                                                                     THRU:
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     DATE         TIME
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       Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 13 of 22                                                                                             PageID #:
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                                                                                STATE OF HAWAII
e/i+i&T                                              DEPARtMEiSlt OF t^UBLIC SAFETY
                                                                      INCIDENT REPORT                                                     Facility: _
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TO:                                                                                        THRU:
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    DATE                                                                                             NARRATIVE
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tAhlP//                           STATEOF
                           DEPARTMENT   OFPUBLIC
                                          HAWAII SAFETY
                                   WAIAWA CORRECTIONAL FACILITY


                                               INTERVIEW



 NAME: Inmate Dagirbaud, Quintin A0265488                          DATE: August 1 ,2017

 INVESTIGATOR:           Sergeant D. Kuehu                         CASE NO: WCF2 17-7-27
 INTERVIEW PLACE: HOP

 INCIDENT DATE/TIME & PLACE:               July 27, 2017 / At about 0645 hours / BIdg.         <^2.

 SUBJECT: Alleged Violation of The Administration Rules
 TIME STARTED: D^'30 hours                                  TIME ENDED:               hours

 QUESTIONS:

 1. Do you understand that this is an inmate investigation and you are required to be truthful
     and cooperative?

A.



 2. Do you understand that this investigation is confidential and that you are directed not to
    discuss any part of this investigation with anyone other than the investigator?
A.



 3. Do you understand that if you are not truthful during this questionnaire or if any alleged
     misconduct by you is discovered you will be charged with lying?
A. "iil.

 4. Would you be willing to take any form of a lie detector test upon request? If answer is "no"
     explain why?

A.



 5. What housing unit and section are you assigned to?

 A. a/r Ci2_.


                                  "An Equal Opportunity Employer/Agency"
Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 16 of 22   PageID #:
                                     55                                  e -iS"


 6. Were you assigned to footlocker 9A G2?

 A. "VfeS.

 7. Did you look your foot locker on this day?

 A.          1 lo6k'rt-ei/^(5lAl| hefoi^ t '^"fv               '
 8. Did AGO find brown leafy substance in your assigned footlocker?
 A."Tlr)d IS"           I vilA4'b)cf.
 9. What work line are you on?

 A.        "feKilA-
 10. Is there anything else you want to add?

 A. 1        vtiiii'W                  .


        Inmate Dagirbaud, Quintin A0265488       Date
                                                  5?7i>72.
                     Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 17 of 22                                                                PageID #:
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                                                                           STATE OF HAWAII
                                                                      Department of Public Safety



                                                                                       Prepared Or»:
                                                                                       Dale: ;n/«7/9f»<                  Time:


 NOTICE OF REPORT OF MISCONDUCT AND HEARING



                                                                                                                                      HOUSING UNTT

• You are herein notified that a written report of misconduct was filed against you on                    3
   A copy of the chargefs) are listed below.

• A hearing on the chargB(s) has been scheduled and you are to be present at
                              ....                             ^ on
                                                                ■■   on                                                                    ^         :
           CTiTte)                                  (Osle)

 As required by Department of Public Safe^ procecfure, this hearing has been scheduled to determine thefa'ds and administer}ust corrective
 actlonT" You have the right to: 1) Have any charge explained to you: 2) Examine any written material concerning the charge;-3) Request
'an administrative review through the grievance process.                                        "                "               ,,            .i
 Charge(s);          ■■           •.
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 Receipt of notice of charges-and rights:
 I acknowledge receipt of the Notice of Report of Misconduct and hearing. I understand I may have counsel substitute.' The Adjustment
 Committee must be notified as to who your counsel substitute is within a reasonable time, not fess ttian' 12 hours prior to thehearThg:'
 I do ^       I do not                 waive my right to 24 hour prior notice.



                                                                Date:_iLZi_l/_ Signatnm-                                                j / l_
 Findings and Disposition of Corrective Action with evidence relied upon for decision:




 Receipt of findings and disposition


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                  Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 18 of 22                                                                                      PageID #:
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   NOTIC E OF REPORT OF MISC ONDU CT AND HEAR
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   TO : _ _ _ _ __
                              NAME                                       SID NUM2ER
  • You are herein notified that a written report ot· miscond
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    A copy ol the charge(s) are listed below.                                                                    - -·-

  • A hearing on the charge(s) has been scheduled
                                                  and you are to be present at
      ____ ___ . on
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                  ffi'l"le)            {Date)

  As req.uired by Department of Public Safety procedu
                                                      re. this hearing has been scheduled to determine the
  action. You have the right to: J) Have any charge                                                        facts and administer just corrective
                                                     explained to you: 2) Examine any written material concern
  an administrative review through the grievance process                                                          ing the <;l1erge. 3) Request
                                                           .
  Charge(s) :




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 Receipt of notice of charges and rights:
 I acknow ledge receipt of the Notice of Report of Miscond
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 Committee ml1st be notified as to who your counsel                                                              substitute. The Ad1ustment
                                                      substitute is within a reasona ble time, not less than
                                                                                                             12 ho'u rs prior to !lie hearing.
 f do· - - I do not _ _ waive my right to 24
                                               hour prior notice.



                                                 Date: _   _ ____ _

 Findings and Disposition of Corrective Action with evidenc
                                                            e relied upon for decision:




Receipt of findings and disposrt ion


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            Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 19 of 22 PageID #:
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I have seen the response
to my request.           inmate Signature:                                                       Date:




                                      HCF INMATE REQUEST FORM
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                                   HALAWA CORRECTIONAL FACILITY

                                        RESPONSE TO INMATE



          Control #:

          Name of Inmate        Dagirbaud, Quintin
          SID#       A0265488                                HOUSING UNIT: 4-B-3
          Date letter initiated:    10/06/17

          Letter addressed to:      Dovie Gorges, RSA

          Date letter received:     10/05/17



          DISPOSITION:



             In response to your letter to me dated October 2,2017, your account of the situation
          obviously differs from WCF reports. Part of the reason that you may have been labeled
          as a "rat" Is the overt way you tell on about every other inmate's wrongdoing. For that
          reason, other inmates do not want to be around you. Had you not been so obvious, this
          might not have happened to you. When you can just mind your own business and do
          your own tirrie, everything will settle down for you.
                 An exception case will not help you transfer. You have to be legitimately minimum
          custody to transfer so an exception case is only used within the facility to lower custody
          for worklines or good behavior but not for transfer purposes. Your scheduled reclass is
          02/2018.




          cc: Victor/Megan/Desmond/Laurie



                                                                      /c>/c=>/j'y
                 Dovie Borges         ^ Title                            Dai


       White-Inmate's Response        Canary-Institutional File   Pink -Respondent Copy

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   Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 21 of 22             PageID #:
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                                   99-902 Moanalua Road
                                      Aiea, HX 96701


                                     November 1, 2017

Mr. Nolan Espinda
PSD Director
919 Ala Moana Blvd. 4th Fl.
Honolulu, HI 96814

Dear Mr. Espinda:

I am writing to you in an attempt to resolve three important grievances that I have v^ich
have gone unanswered. While I was at WCF, I expressed to Administrator Teresa Miike,
CDS Thomas Evans, and ny case manager Cristy Y, my concerns about being assaulted ^Td/or
setup by other inmates for retalitory reasons. I was told to oontinue what I was doing
and everything would be fine. Well, the inmates did end up setting me up by placing
drugs/tobacco in my locker and then sending a note to staff telling then exactly where
to find it.

I've never smoked cigarettes nor have I ever done any type of illegal drug in my entire
life inside or outside of prison. To make matters worse your frontline staff has refused
to answer ray Step 2 or my Step 3 grievances. When I expressed this to RSA Dovie Borges
she wrote me a demeaning letter basically stating it is my own fault I was setup by
inmates, thus sanctioning and acknowledging the criminal behavior of other inmates.

I have attached my write-up reports along with two demoralizing letters from RSA Borges.
Step 3 Grievance #397075 regarding iry erroneous write-up was due on Oct. 25th; Step 3
Grievance #397727 regarding my custody points calculation was due on Oct. 25th; and
Step 3 Grievance #397726 regarding my store order not being returned to the store and
my account credited was due on Oct. 25th. WCF refused to answer the Step^o all of
the above grievances which were due on Sept. 27th.

My understanding of the grievance process is to help irmates appeal write-ups and other
things that they believe they were treated unjustly. However, ^en the PSD staff writes
intimidating letters and outright refuses to answer the grievances is a direct violation
of my civil rights,     criminal history and my institutional file attests to the fact
that I am not a drug addict and definatly I am not a drug dealer.

Vftiat was done to me was unfair, unjust and clearly not ray doing, especially when I fore
warned the Administration of what inmates were planning to do to me as retaliation
for pressing charges on a gang member who physically assaulted me. I am asking for fair
ness and to have my grievances read and answered in accordance to PSD policy, and that a
proper investigation is launched into vhy WCF/HCF staff are so determined to see me go
backwards in the system, and why they refuse to answer grievances and why they answer
letters to intimidate inmates from protecting themselves and doing vihat is right.

I sincerely appreciate your time and careful investigation in these important matters.
I look forward to hearing from you soon.




Quihti   'hn D'Agi^^^^n
Enclosures
cc: HCF Warden; WCF Warden; Ombudsman; Attorney; Institutional File
Case 1:18-cv-00021-JMS-WRP Document 1-6 Filed 01/12/18 Page 22 of 22                     PageID #:
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                                      \98S
DAVID Y.IGE                                                                               NOLAN P. ESPINDA
GOVERNOR                                        i                  I                          DIRECTOR
                                                                                             Cathy Ross
                                                                                            Deputy Director
                                                                                             Administration

                                                                                        Jodie P. Maesaka-Hlrata

                                                STATE OF HAWAII                             °c'o7ect'nf
                                  DEPARTMENT OF PUBLIC SAFETY
                                      919 Ala Moana Boulevard, 4th Floor                Re""R. Sonobe Hong
                                               Honolulu, Hawaii 96814                      .Law Enforcement
                                                                                                   Director

                                                                                     No. PSD #2017-3291


                                            November 20, 2017




       Mr. Quintin D'Agirbaud, Ml (A0265488)
       c/o Saguaro Correctional Center
        1252 East Arica Road
        Eloy, AZ 85131

        Dear Mr. D'Agirbaud:

       Your letter to Director Nolan Espinda dated November 1, 2017, has been forwarded to
       me for response.

       Your three Step 3 PSD grievances have been responded to on 11/2/17 and returned to
       the PSD Grievance Officer for processing. Upon signing the acknowledgment and in
       accordance with PSD Policy COR.12.03, the decision Is final/ultimate recourse available
       in the administrative remedy process.




        jhari Kimoto
       Acting Institutions Division Administrator


       cc:    Nolan Espinda, Director
              Mainland Branch Records




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                                      "An Equal Opporlunily limployer/Agency"
